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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

        vs.                          4:04CR00169-18-BRW

LEONARD FARMER

                                             ORDER

        Pending is the Motion for Summons (Doc. No. 890) in the above styled matter. The Motion

is GRANTED and the Clerk’s office is directed to prepare and issue a summons for the defendant,

LEONARD FARMER. A revocation hearing is set for Friday, January 11, 2013 at 10:30 AM in

Courtroom #A401.

        Lisa Peters of the Federal Public Defender’s Office is appointed to represent the defendant

in this matter.

        IT IS SO ORDERED this 16th day of November, 2012.



                                                  /s/Billy Roy Wilson
                                            UNITED STATES DISTRICT JUDGE




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